                                       Case
     Fill in this information to identify      23-11948
                                          your case:              Doc 1            Filed 03/13/23       Page 1 of 4
     United States Bankruptcy Court for the:

     Southern District of Florida
     ____________________  District of _________________
                                       (State)
     Case number (If known): _________________________ Chapter you are filing under:
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                                                                 Chapter 11
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               Allied Aerospace, Inc.
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